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                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MARYLAND
                                   *
MARYLAND, et al.,
                                           *
                     Plaintiffs,
                                           *
              v.
                                                Case No. 1:25-cv-00748-JKB
                                           *
UNITED STATES DEPARTMENT                   *
OF AGRICULTURE, et al.,
                     Defendants.

   *    *    *   *    *   *    *   *  *    *    *   *
 PLAINTIFFS’ MOTION TO EXTEND TEMPORARY RESTRAINING ORDER

       Plaintiffs States hereby move to extend the Temporary Restraining Order (TRO)

entered by this Court on March 13, 2025, ECF No. 44, until April 10, 2025, to permit

consideration and decision on Plaintiffs’ Motion for a Stay and Preliminary Injunction.

ECF No. 78. To the extent this Court rules prior to April 10, Plaintiffs understand that

the TRO would dissolve upon resolution of the stay and preliminary injunction motion.

       As explained below, there is good cause for this motion. Yesterday, March 20,

Plaintiffs filed their Motion for a Stay and Preliminary Injunction. ECF No. 78.

However, without an extension, the TRO will expire on March 27. See ECF No. 44

(docket entry). An extension of time, of no longer than 14 days, will ensure that the

status quo is preserved while the Court considers and prepares a ruling on Plaintiffs’

forthcoming motion for a stay and preliminary injunction.
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                                      ARGUMENT

       Federal Rule of Civil Procedure 65(b)(2) provides that a temporary restraining

order expires after 14 days, unless the adverse party consents to an extension, or if the

court, “for good cause, extends it for a like period[.]” In other words, courts may

properly extend a TRO for an additional 14 days upon a finding of good cause, so long as

the “reasons for an extension” are “entered in the record.” Fed. R. Civ. Pro. 65(b)(2); see

also Dellinger v. Bessent, No. CV 25-0385 (ABJ), 2025 WL 615122, at *2 (D.D.C. Feb.

26, 2025) (explaining that TROs may be entered for “the standard fourteen days followed

by a fourteen-day extension”).

       Courts have found good cause for an extension where more time is needed to fully

“consider the parties’ arguments and motions or ‘where the moving party need[s]

additional time to prepare and present its preliminary injunction” motion. See Costa v.

Bazron, No. CV 19-3185 (RDM), 2020 WL 2410502, at *2 (D.D.C. May 11, 2020)

(quoting SEC v. Arisebank, No. 18-cv-186, 2018 WL 10419828 at *1 (N.D. Tex. Mar. 9,

2018)). Indeed, courts in this circuit regularly find good cause to extend a TRO to enable

a decision on a motion for preliminary injunction. See, e.g., CHGYM LLC v. Unify

Athletics, LLC, No. 1:21CV911, 2022 WL 112208, at *1 (M.D.N.C. Jan. 12, 2022)

(noting that the court “extended the TRO for seven days to allow for the preparation of a

written memorandum . . . in support of a preliminary injunction”); Merrill Lynch, Pierce,

Fenner & Smith, Inc. v. Sivel, No. CIV. A. MJG-99-185, 1999 WL 35799640, at *1 (D.
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Md. Feb. 4, 1999) (explaining that “the Court extended the TRO until decision is

rendered on the request for preliminary injunction”).

       There is similarly good cause to extend the TRO here. As set forth in the Notice

filed March 21, 2025, Plaintiffs filed their Motion for a Stay and Preliminary Injunction

on March 20, and Defendants will respond no later than March 24, prior to the potential

hearing set for March 26, 2025. Because the TRO will expire the next day, March 27 at

8:00pm, Plaintiffs request that the Court extend the TRO until such time that it rules on

Plaintiffs’ motion for a stay and preliminary injunction, for a period no longer than 14

days, or until April 10, 2025.

       Otherwise, if the TRO expires during the Court’s consideration of Plaintiffs’

Motion, Defendant agencies will likely re-terminate tens of thousands of probationary

employees en masse, exacerbating the irreparable harms to the States that justified the

entry of the TRO. See ECF No. 43 at 13-19, 41-42. Such terminations, which this Court

found were likely unlawful, id. at 40, should not be repeated while preliminary relief is

considered. An extension of the TRO will appropriately preserve the status quo during

the pendency of Plaintiffs’ motion.

       For all these reasons, Plaintiff States respectfully request that the Court extend the

duration of the TRO until such time that it rules on Plaintiffs’ Motion for a Stay and

Preliminary injunction, for a period no longer than 14 days, i.e., April 10, 2025.
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Respectfully submitted,

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* Pro hac vice application forthcoming
**Application for admission pending
† Admitted pro hac vice



March 21, 2025                               Attorneys for Plaintiffs
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                            CERTIFICATE OF SERVICE

       I certify that, on this 21st day of March, 2025, I electronically filed the foregoing

with the Clerk of the Court using the CM/ECF System, which will send notice of such

filing to all counsel.




                                                 /s/ Virginia Williamson
                                                 Virginia Williamson
